                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

TINA WENKE and WENKE DESIGN, LLC §
d/b/a WENKE DESIGN STUDIO,          §
                                    §                           Case No. 3:24-cv-00877
       Plaintiff,                   §
                                    §                           Chief Judge Campbell
v.                                  §
                                    §                           Magistrate Judge
DOLLAR GENERAL CORPORATION,         §                           Frensley
DOLGENCORP, LLC, and                §
BIG TREE SALES, INC. d/b/a BIG TREE §


    DEFENDANTS’ MOTION TO DISMISS COUNTS IX AND X WITH PREJUDICE


       Defendants, Dollar General Corporation (“Dollar General”), Dolgencorp, LLC

(“Dolgencorp”), and Big Tree Sales, Inc. d/b/a Big Tree (“Big Tree”) (collectively “Defendants”),

by and through their attorneys, respectfully move the Court pursuant to Fed. R. Civ. P. 12(b)(6) to

dismiss Plaintiffs’ Complaint filed by Plaintiffs Tina Wenke (“Ms. Wenke”) and Wenke Design,

LLC d/b/a Wenke Design Studio (“Wenke Design”) (collectively “Plaintiffs”) in part, as Claims

IX and X fail to comply with the minimum pleading standard mandated by Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007) and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       As explained more fully in the Memorandum in Support of Their Motion to Dismiss Count

IX and X with Prejudice (“Memorandum”), which Defendants incorporate by reference as if fully

restated herein, Defendants move to dismiss Plaintiffs’ claims for reverse passing off and passing

off under the Lanham Act (Counts IX and X) because Plaintiffs are not manufactures of a tangible

product, there is no recognizable trademark on Defendants’ products that would confuse

customers, and Plaintiffs failed to bring certain claims, identified in Count IX and X, within the




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appropriate time frame as required under Ohio Rev. Code § 2305.10, made applicable through

Tenn. Code Ann. § 28-1-112.

          Defendants respectfully request that this Court dismiss Counts IX and X of Plaintiffs’

Complaint, with prejudice, and award Defendants such further relief as the Court deems just and

proper.


Submitted, this 7th day of October 2024.

                                                    Respectfully submitted,


                                                    /s/     Stephan R. Wright
                                                    Stephan R. Wright (#031494)
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                                                    Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing has been filed electronically
with the Clerk of the United States District Court for the Middle District of Tennessee, Nashville
Division, using the Court’s CM/ECF system, which shall send notification or such filing to all
counsel of record. Further notice was sent via electronic correspondence to the following:

       Kimberly M. Ingram-Hogan, Esq.
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       This 7th day of October 2024.

                                                    /s/     Stephan R. Wright
                                                            Stephan R. Wright




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